Case 1:21-cr-00540-PLF Document 39 Filed 11/10/22 Page1of4

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

 

UNITED STATES OF AMERICA
Vv. Criminal No. 21-0540 (PLF)
TIMOTHY ALLEN HART,
Defendant.
)
SCHEDULING ORDER

 

On September 28, 2022, the Court ordered the parties to file a joint status report
informing the Court whether Mr. Hart intends to enter a guilty plea or proceed to trial. See
September 28, 2022 Minute Order. On November 3, 2022, the parties jointly submitted a status
report and proposed pretrial and trial schedule. See Joint Status Report and Proposed Pretrial
and Trial Schedule [Dkt. No. 38] (“JSR”). The parties informed the Court that they were
“actively engaged in discussion of a pre-trial resolution of this matter including a proposed
written plea offer,” but that Mr. Hart had “rejected that offer and is requesting a trial date.” JSR
at 1. The parties proposed a pretrial and trial schedule. After careful consideration of the
parties’ proposed schedule, the Court adopts some aspects of the proposed schedule but is unable

to accommodate others. Accordingly, it is hereby

ORDERED that the proceedings in this case shall be governed by the following

schedule:
Case 1:21-cr-00540-PLF Document 39 Filed 11/10/22 Page 2 of 4

1. TRIAL. A jury trial in this matter will commence with jury selection on
October 2, 2023, at 10:00 a.m. in Courtroom 29 in the William B. Bryant Annex to the E. Barrett
Prettyman Courthouse at 333 Constitution Avenue N.W., Washington, D.C. 20001, and will
continue each weekday at 10:00 a.m. until concluded. In the interest of justice and with the
agreement of the parties, the Speedy Trial Act is tolled through October 2, 2023.

2. FINAL PRETRIAL CONFERENCE. The final pretrial conference will be held
on September 18, 2023, at 9:15 a.m. in Courtroom 29. The Court will rule on any objections to
proposed exhibits, see infra 7, to the extent possible at the pretrial conference, hearing
argument as necessary.

3. PRETRIAL MOTIONS. Any motions pursuant to Federal Rule of Criminal
Procedure 12(b)(3)(A)-(D) shall be filed on or before June 2, 2023. Oppositions to any such
motions shall be filed on or before June 16, 2023, and any replies in support of such motions
shall be filed on or before June 23, 2023.

4. PRETRIAL MOTIONS HEARING. A hearing on any non-evidentiary pretrial
motions will be held on July 7, 2023, at 10:00 a.m. either in person or via Zoom
videoconference, to be determined later.

MOTIONS IN LIMINE AND DAUBERT MOTIONS. Any motions in limine
and Daubert motions shall be filed on or before July 28, 2023. Oppositions to any such motions
shall be filed on or before August 11, 2023, and any replies in support of such motions shall be
filed on or before August 18, 2023.

6. EVIDENTIARY MOTIONS HEARING. A hearing on any motions in limine and
Daubert motions will be held on September 8, 2023, at 10:00 a.m. either in person or via Zoom

videoconference, to be determined later.
Case 1:21-cr-00540-PLF Document 39 Filed 11/10/22 Page 3 of 4

7. JOINT PRETRIAL REPORT, On or before September 15, 2023, the parties shall

file a Joint Pretrial Report that contains the following:
a. Proposed voir dire questions.
b. Proposed jury instructions.
c. Lists of witnesses.
d. Exhibit lists.
e. Stipulations.
f. Proposed jury verdict form.

In summary, this case will proceed pursuant to the following schedule:

 

Date Description

 

June 2, 2023 The parties shall file any motions pursuant
to Federal Rule of Criminal
Procedure 12(b)(3)(A)-(D). See supra § 3.

 

June 16, 2023 The parties shall file oppositions to motions
pursuant to Federal Rule of Criminal
Procedure 12(b)(3)(A)-(D). See supra § 3.

 

June 23, 2023 The parties shall file any replies in support
of motions pursuant to Federal Rule of
Criminal Procedure 12(b)(3)(A)-(D). See
supra {| 3.

 

July 7, 2023, Motions hearing for any non-evidentiary
at 10:00 a.m. pretrial motions. See supra § 4.

 

July 28, 2023 The parties shall file any motions in limine
and Daubert motions. See supra 5.

 

August 11, 2023 The parties shall file oppositions to motions
in limine and Daubert motions. See
supra J 5.

 

August 18, 2023 The parties shall file any replies in support
of motions in limine and Daubert motions.
See supra J 5.

 

 

 

 
Case 1:21-cr-00540-PLF Document 39 Filed 11/10/22 Page 4 of 4

 

 

 

 

 

 

 

 

Seplember 8; 2023, Motions hearing for any motions in limine

at 10:00 a.m. and Daubert motions. See supra { 6.

September 15, 2023 | The parties shall file a Joint Pretrial Report.
See supra {| 7.

September 18, 2023, | Final Pretrial Conference. See supra 4 2.

at 9:15 a.m.

October 2, 2023, Trial will commence in Courtroom 29 in

at 10:00 a.m. the William B. Bryant Annex to the E.
Barrett Prettyman Courthouse and will
continue each weekday at 10:00 a.m. until
concluded. See supra {| 1.

SO ORDERED.

PAUL L. FRIEDMAN
United States District Judge

DATE: Ut 1e/ pe
